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GLERK’S OFFICE U.S. DIST. COURT
AT ROANOKE, VA
FILED
cm) JUL 0 7 2006
United States District Court JOHN E. CORCORAN, CLERK
Western District of Virginia S oy
Petition for Warrant or Summons for Offender Under Supervision
Name of Offender: Jeffrey Scott Wright Case Number: 7:96CR00060-001

Name of Sentencing Judicial Officer: Honorable James C. Turk

Date of Original Sentence: February 5, 1997

Onginal Offense: Theft of Mail and Bank Fraud

Original Sentence: 18 months incarceration

Type of Supervision: supervised release Date Supervision Commenced: July 12, 2004
Asst. U.S. Attorney: Thomas L. Eckert Defense Attorney: Grady W. Donaldson, Jr.

 

 

 

PETITIONING THE COURT

(] To issue a warrant
[X] To issue a summons

The probation officer believes that the offender has violated the following condition(s) of supervision:
Violation Number Nature of Noncompliance

1 and Condition: “The defendant shall not commit another federal, state
or local crime.”

The defendant pled guilty on May 8, 2006, to driving under the influence,
identity fraud, and driving after being judged a habitual offender (second
offense). His sentencing in the Lynchburg Circuit Court is scheduled for July
14, 2006.

 
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Prob 12C -2- Petition for Warrant or Summons
for Offender Under Supervision

U.S. Probation Officer Recommendation:
The term of supervision should be:

[X] Revoked
f }  &xtended for year(s), for a total term of years.

[ ] The conditions of supervision should be modified as follows:

] declare under penalty of perjury that the foregoing is true and correct.
Executed on July 6, 2006

FIN Soa

Michael D. Blankenship
___U.S. Probation Officer

 

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THE COURT ORDERS
[ ] No Action
[ ] The Issuance of a Warrant (Petition and warrant shall be SEALED until execution of warrant.)

The Issuance of a Summons

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Date

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